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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-21927-CIV-ALTMAN/Goodman

  YVETTE HARRELL,

         Plaintiff,
  v.

  CITY OF OPA-LOCKA,

        Defendant.
  _________________________________________/

                                                ORDER

         THIS MATTER comes before the Court on the Defendant’s Motion to Dismiss [ECF No.

  6] (the “Motion”). This Court held a telephonic hearing [ECF No. 18] on October 15, 2020. For

  the reasons stated on the record, the Court hereby

         ORDERS AND ADJUDGES that

         1. The Motion to Dismiss [ECF No. 6] is GRANTED IN PART and DENIED IN PART

             as follows:

                 a. Count I is DISMISSED without prejudice. Sex or gender discrimination

                      claims are not cognizable under 42 U.S.C. § 1981. See, e.g., Little v. United

                      Techs., Carrier Transicold Div., 103 F.3d 956, 961 (11th Cir. 1997) (“It is well-

                      established that § 1981 is concerned with racial discrimination in the making

                      and enforcement of contracts.”).

                 b. Count II is DISMISSED without prejudice. As pled, the Complaint is unclear

                      on (1) whether the Plaintiff is bringing a disparate treatment claim, a hostile

                      work environment claim, or both; (2) whether the Plaintiff is proceeding under

                      a single-motive or mixed-motive theory; and (3) what the (alleged) adverse
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                employment action was.

             c. Count III is DISMISSED without prejudice. As pled, the Complaint is unclear

                on (1) whether the Plaintiff is bringing a disparate treatment claim, a hostile

                work environment claim, or both; (2) whether the Plaintiff is proceeding under

                a single-motive or mixed-motive theory; and (3) what the (alleged) adverse

                employment action was.

             d. Count IV is DISMISSED without prejudice. Sex or gender discrimination

                claims are not cognizable under 42 U.S.C. § 1981. See, e.g., Little, 103 F.3d at

                961.

             e. Count V survives and thus the Motion is DENIED as to this Count.

                Nonetheless, the Plaintiff ought to clarify her Complaint, see, e.g., Compl. ¶¶

                103, 105, 108, as this Court explained on the record.

             f. Count VI survives and thus the Motion is DENIED as to this Count.

                Nonetheless, the Plaintiff ought to clarify her Complaint, see, e.g., Compl. ¶¶

                116, 118, 121, as this Court explained on the record.

             g. Count VII is DISMISSED without prejudice for failure to describe the content

                of the Plaintiff’s whistleblower complaints so that this Court can draw the

                reasonable inference that those complaints are protected under Fla. Stat. §

                112.3187. See, e.g., Broward Cty. Sheriff’s Office v. Hamby, 300 So. 3d 213,

                216 (Fla. 4th DCA 2020) (finding a pleading insufficient where it was “devoid

                of specific facts as to what [the plaintiff] actually disclosed,” noting that the

                plaintiff’s “vague and conclusory allegations were insufficient to show a

                protected disclosure”); Nazzal v. Fla. Dep’t of Corr., 267 So. 3d 1094, 1097
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                    (Fla. 1st DCA 2019) (finding that an incident report was insufficient because,

                    although the employee reported she was “subjected to disparate treatment

                    which is in direct violation of the 1964 civil rights act,” she “did not elaborate

                    on how (or by whom) she was treated disparately or how any such disparate

                    treatment was based on a protected characteristic such as her national origin”).

                h. Count VIII is DISMISSED without prejudice because the Plaintiff failed to

                    allege sufficient information about the Contract—including what provision was

                    breached and whether the employment relationship was at-will—such that this

                    Court could find that the Plaintiff stated a plausible breach of contract claim.

        2. By October 22, 2020, the Defendant shall produce to the Plaintiff either (1) a copy of

            its employment agreement with the Plaintiff or (2) a verified notice attesting that it has

            no record of any such agreement.

        3. By October 30, 2020, the Plaintiff shall file an Amended Complaint.

        4. Failure to comply with this Order may result in sanctions.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 15th day of October 2020.




                                                       __________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
